ell
UStHKE

G8

ET,

— "S.J8U PUNO) aq ued JsOdaping Jo UOI]UaIas BY] HuloUNOUUe asealal ssaid 7

“sJ0Y PUNO) 8g UBD UO!TENSeAU! BU] JO sdoos ay} pue ad104 yse) yi Burpsebas Uo!eWJOJU! ;eUOIIPpY

‘asnge |enxas Jo SJOAIAINS Jo Bulaq||am 34} JO} aseo pue ‘Aouasedsuely ‘Ayiqeyunosoe aunsua

0} peublsap searoesd pue spsepuejs jsaq Bulsn ‘G1OZ SUNP-pl UI UONEWOJ S} Ja]je say WWOD sfeljuepelg ay} Jo sUO!]Oe pue sainpsaod ay} Jo Ypne ue pawJojied ysodaping ‘uoINppe Uj

1ZOZ #7) AUNP 0} ‘OGOZ ‘| Aenuer Wody Seaielysu; LWOJas asnge |enxas 0} adue}s|say

1ZOZ ‘7L UNL 0} ‘QO0Z ‘| AJenuer LWwols SA}EOOAPe JO SUUIJOIA SSNGE [ENXaS JO UOIEPIWI}U! JO SUIS ©

1Z0Z ‘YL @uNP 01 ‘Q00Z ‘| Avenue wo) staquiaw aaz]LULUOD aAljnoaxy Aq SWUIJOIA aSNge jenxas jo JUaLU}eaI}SIWW JO SUdIebayYy ©
tZOZ ‘vL eunr 01 ‘g00Z ‘| Auenuep usemyeq sJaquuaww 3a]]IWW03 aAlynoexy Aq suolebayje asnge Jo bul|pueusip

SJaqual ad}}|WWWOD sAljnoaxy Aq asnge jo suonebayy «

:payebliseaul lsodaping ‘uo}o) 99S aul Aq pajoauip se pue ‘Ajjeaijloads

:SMO|jOJ SE S| a]epUeLU S3sodaping ‘jueWabebuz jo 48}3987 ay} 0} JUeNssng ‘Huljasw jenuue gS {Z7OZ ay] Je UOMUAAUO] au] Jo SuabUassaLy ay} Aq poud!ss|WWWOS Se '9gGS

BU] JO Ba}IWUOD daljndaxy 34} Hulpsjeba: voebysaau) pue juswssesse JUspUadapU} ay] JONPUODD Oo} pauUlejas sem SUOHN|OS Jsodaping Jey} paounouue 39104 Ysey ayy '1ZOT ‘6 Jequialdas ug

99104 YS] SY} WOd) JIQUPFEAE MoU SI OLEH SaAuy : dapu| ey: c ay e

“OUISTAM QS BY] UO J|QeHeEAre S} JUBWaIeYs asea[ss OY] ©
'610Z 03 000Z wou Ueds Ajabie] Jey} Sased WO) SaljUa QO/ UBY} aIOW SApNjou! 3 “ZZOT ‘9z AewW Jiqnd

apew sem asegejep abed-Gqz sit] ‘asnge jenxas Jo pesnooe |auuosiad payeljije-Younya 19yj}O pue SJojsed JO si] SU) Paseajal Sey 9a}}!WWLUO aAIINDSXy JgS eu] ‘s}senbal 0} asuodsal uy]

Cs ayepdn ysiuly ) oh ®« * @G JuoyeBpsaau{-oa-aqs/woo'suonnjosysodapinB @ oD

12394

Filed 08/05/24 Page 1 of 1PagelD#

Document 261-2

23-cv-00243

Case 3
